                              Case 1:09-cv-00026 Document 12 Filed 10/08/09 Page 1 of 1



                                                                                                    F I LEO
                                                                                                        Clerk
                                                                                                    District Court
                1

                2
                                              THE UNITED STATES DISTRICT COURT
                3
                                             FOR THE NORTHERN MARIANA ISLAl'8Jg:he Northern Mariana Islands
                                                                                            By._~~o:--=:'~--
                                                                                                 (Deputy Clertt)
                4
                     MOHAMMAD FEROJ AHMED,                                      Civil Action No. 09-0026
                5
                                     Plaintiff,
                6
                              v.                                                ORDER GRANTING
                7                                                               STIPULATION
                8    GREGORY BAKA, Acting Attorney General
                     and MELVIN GRAY, Director of
                9    Immigration, in their official capacities,

               10                    Defendants.
               11

               12
                             Now before the Court is the stipulation of the parties to extend the scheduled dates for
               13
                    responding to Defendants' motion to dismiss currently pending in this matter. The Court finds
               14
                    good cause appearing and orders as follows:
               15
                             1.     Plaintiff s Opposition to the Motion to Dismiss shall be filed on or before
               16
                                    Thursday, November 5, 2009;
               17
                             2.     Defendants' Reply shall be filed on or before Thursday, November 12, 2009;
               18
                             3.     Hearing on the motion shall be scheduled for Thursday, November 19, 2009 at
               19
                                    9:00 a.m. and the hearing currently set for October 22,2009 shall be taken off
               20
                                    calendar.
               21

               22

               23
                    IT IS SO ORDERED.
               24
                    Dated:          October 8, 2009
               25

               26                                                           ~If,~
                                                                          ALEX R. MUNSON
                                                                          UNITED STATES DISTRICT JUDGE
AO 72
(Rev. 08/82)
